                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:17-cr-70
 v.                                             )
                                                )        Judge Travis R. McDonough
 DANIEL JOHNSON                                 )
                                                )        Magistrate Judge Christopher H. Steger
                                                )


                                             ORDER



         On August 11, 2017, Magistrate Judge Christopher H. Steger filed a report and

recommendation (Doc. 87) recommending that the Court: (1) grant Defendant’s motion to

withdraw his not guilty plea as to Count One of the Indictment; (2) accept Defendant’s guilty

plea as to Count One of the Indictment; (3) adjudicate Defendant guilty of conspiracy to

distribute 5 kilograms or more of a substance containing a detectable amount of cocaine, a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846;

and (4) order that Defendant remain in custody until sentencing in this matter. Neither party

filed a timely objection to the report and recommendation. After reviewing the record, the Court

agrees with Magistrate Judge Steger’s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 87) pursuant

to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

      1. Defendant’s motion to withdraw his not guilty plea as to Count One of the Indictment is

         GRANTED;

      2. Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;




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   3. Defendant is hereby ADJUDGED guilty of conspiracy to distribute 5 kilograms or more

      of a substance containing a detectable amount of cocaine, a Schedule II controlled

      substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846; and

   4. Defendant SHALL REMAIN in custody until sentencing in this matter which is

      scheduled to take place on November 17, 2017 at 9:00 a.m. before the undersigned.

   SO ORDERED.


                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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